
John M. Kirby, Attorney at Law, Raleigh, For Ha, Nhung, et al.
David S. Wisz, Attorney at Law, Raleigh, For Nationwide General Insurance Company.
Stephen D. Feldman, Attorney at Law, For Nationwide General Insurance Company.
Leslie C. Packer, Attorney at Law, For Nationwide General Insurance Company.
Preetha Suresh Rini, Attorney at Law, For Nationwide General Insurance Company.
The following order has been entered on the Motion for Extension of Time to File Brief filed on the 20th of August 2019 by Defendant:
"Motion Allowed by order of the Court in conference, this the 20th of August 2019."
Defendant shall have up to and including the 4th day of October 2019 to file and serve his/her brief with this Court.
